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UNITED STATES DISTRICT-COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION

NUVASIVE, INC., )
Plaintiff,

Vv. ) Civil Case No. 6:17-cv-2206-Orl-41GJK
ABSOLUTE MEDICAL, LLC, GREG
SOUFLERIS, and DAVE HAWLEY, )
Defendants.
)

 

PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION OF
DOCUMENTS TO ABSOLUTE MEDICAL, LLC

By and through their counsel of record, and pursuant to Federal Rules of Civil Procedure
26 and 34, NuVasive, Inc. (“NuVasive”), submits the following First Set of Requests for
Production of Documents to Absolute Medical, LLC:

I. INSTRUCTIONS

1, These requests seek documents and things in existence as of the date of service
thereof and to the full extent of the Federal Rules of Civil Procedure. These requests are of a
continuing nature and you are required to file and serve supplemental responses promptly if you
obtain further or different information and/or additional documents after the date of your initial
response and before this case is completed.

2. These requests shall apply to all documents in your possession, custody or control
at the present time or that come into your possession, custody or control. If you know of the
existence, past or present, of any documents or things requested below, but are unable to produce

such documents or things because they are not presently in your possession, custody or control,

EXHIBIT

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you shall so state and shall identify such documents or things, and the person who has possession,

custody or control of the documents or things.

3.

If no documents are responsive to a particular request, you are to state that no

responsive documents exist.

4,

For any responsive documents or tangible things that have been lost, destroyed or

withheld from production based on any ground, you shall provide a written statement setting forth:

(a)
(b)
(c)
(d)
(e)
(f)

5.

the identity of the document;

the nature of the document (e.g., letter, memorandum, chart);

the identity of the person(s) who received copies of the document;

the date of the document;

a brief description of the subject matter of the document; and

the circumstances of the loss or destruction of the document and/or any fact, statute,
rule or decision upon which you rely in withholding the document.

If you decline to produce any document or part thereof based on a claim of privilege

or any other protection, provide a “privilege log” which identifies each document separately and

specifies for each document at least the following:

(a)
(b)

the date;

all authors and/or senders identified by position and entity with which they are
employed or associated and, if any author and/or sender is an attorney, a statement
so stating and, if any author and/or sender is a foreign patent agent, a statement so
stating and a statement as to whether the laws of the agent’s country grant

privileged status to a patent agent’s communications;
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(c) the recipient(s), including copy recipients, identified by position and entity with
which they are employed or associated and, if any recipient is an attorney, a
statement so stating and, if any recipient is a foreign patent agent, a statement so
stating and a statement as to whether the laws of the agent’s country grant
privileged status to a patent agent’s communications;

(d) the general subject matter of the document;

(e) the portion(s) of the document as to which privilege or protection is claimed; and

(f) the type of privilege or protection asserted.

6. If you object to any part of a request, specify which part of the request you object
to, and produce or allow inspection of all remaining parts.

7. All documents requested are to be produced in the same file or other organizational
environment in which they are maintained. For example, a document that is part of a file, docket,
or other grouping, should be physically produced together with all other documents from said file,
docket or grouping, in the same order or manner of arrangement as the original. Alternatively, as
to each document and thing produced in response hereto, you shall identify the request for
production in response to which the document or thing is being produced.

8. With respect to electronically stored information (“ESI”) it shall be produced in
single-page TIFF format with OCR text, with a corresponding load file containing a path to the
OCR text and the Native file. In the case of responsive spreadsheets, audio, database, and video
files, or any other responsive ESI for which the above format is not practicable, the ESI shall be
produced in native format with unique identifying numbers associated with the native documents.
In the case of emails, attachments should be identified as such that they can be matched to the

parent email. ESI should be produced on CD-ROM, DVD, removable hard drive, or other standard
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storage medium. Plaintiff reserve the right to request ESI be produced with all accompanying
metadata intact and/or in native file format.
Il. DEFINITIONS

1. “NuVasive” shall mean the Plaintiff in this. matter, NuVasive, Inc., its parents,
subsidiaries, partners, distributorships, and/or affiliates and each of their representatives, agents,
directors, officers, employees, and all other persons acting or purporting to act on each of their
behalf.

2. “Absolute” shall mean Absolute Medical LLC, its parents, subsidiaries, partners,
distributorships, and/or affiliates and each of their representatives, agents, directors, officers,
employees, and all other persons acting or purporting to act on each of their behalf.

3. “Alphatec” shall mean Alphatec Spine, Inc., its parents, subsidiaries, partners,
distributorships, and/or affiliates and each of their representatives, agents, directors, officers,

employees, and all other persons acting or purporting to act on each of their behalf.

4, “Soufleris” shall mean Greg Soufleris.
5. “Hawley” shall mean Dave Hawley.
6. “Employee” shall refer to any person acting as a supervisor, manager, sales agent,

distributor, employee of a distributor, independent contractor, administrative personnel, third party
recruiter, or other individual or affiliate working on Defendants’ behalf.

7. “Communication” or “communicate” shall refer to each and every incident in which
information is transmitted, whether by correspondence, note, memorandum, telephone, SMS text,
MMS text, email, telex, telegram, or online networking; whether orally, in person, through

recording, in writing, or by any other means whatsoever.
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8. The terms “documents” or “documentation” are used in the broadest sense
permitted under the Federal Rules of Civil Procedure and applicable Local Rules. The terms
includes any written, typewritten, printed, emailed, recorded, or graphic matter, however
maintained, produced or reproduced; any electronically, mechanically, or magnetically recorded
matter of any kind or character, however maintained, produced or reproduced, including without
limitation all electronic devices, computer data storage devices of any kind, and online networking;
and any other matter constituting the recording of data or information upon any tangible thing by
any means, including without limitation correspondence, letters, telegraphs, contracts, agreements,
notes, memoranda, analyses, studies, drawings, plans, schedules, blueprints, bid proposals, bid
estimates, projections, photographs, videotapes, cassettes, discs, reports, work papers, calendars,
meeting minutes, purchase orders, invoices, confirmation slips, time records, tape recordings, flash

drives, computer tapes or discs, any other writing including draft reports of the foregoing.

o. The words “and” and “or?® are to be considered both conjunctively and
disjunctively.
10. The singular form of a noun or pronoun includes the plural form and vice versa.
11. The word “every” also includes “each,” and vice versa.
12, “Relating to” or “relates to” means pertaining to, evidencing, containing, setting

forth, reflecting, showing, disclosing, describing, explaining, summarizing, concerning or
referring to, whether directly or indirectly.

13. “Blectronic Device” or “device” includes personal computers, laptops, personal
digital assistants, smart phones, cell phones, blackberries, iPads, Tablets, memory cards, flash
drives, external hard drives, CDs, DVDs, disks, optical media, or other electronic or magnetic

storage devices of any kind.
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II. REQUESTS FOR PRODUCTION

1. Please produce all of your contracts or other agreements with:
(a) Soufleris;
(b) Hawley;
(c) Ryan Miller;
(d) Brandon Gottstein;
(e) Thad Braggula;
(f) Brennan Burkhart; and
(g)  Alphatec.

RESPONSE:

De Please produce all Communications between you and Alphatec.

RESPONSE:

3. Please produce all charge sheets you have submitted to Alphatec.

RESPONSE:
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4. Please produce all communications you sent to or received from Dr. Paul Sawin

since June 1, 2017.

RESPONSE:

5; Please produce all state and federal income tax returns that you filed or caused to
be filed for calendar years 2016 and 2017.

RESPONSE:

6. Please produce all of your profit and loss statements that were generated since
June 1, 2017.

RESPONSE:

qs Please produce all of your balance sheets that were generated since June 1, 2017.

RESPONSE:

8. Please produce all of your payroll records since June 1, 2017.

RESPONSE:
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9, Please produce all of your data from QuickBooks (or other financial reporting
software) since June 1, 2017.

RESPONSE:

10. Please produce all check registers you created, modified, or otherwise inputted data
since June:l, 2017.

RESPONSE:

11. Please produce all of your bank statements since June 1, 2017.

RESPONSE:

12. Please produce all requests for expense reimbursement you have received since
June 1, 2017.

RESPONSE:
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13. Please produce all records of all payments you have received from Alphatec or any
other participant in the spine industry (other than NuVasive).since June 1, 2017.

RESPONSE:

14. Please produce all commission statements you have received from Alphatec or any
other participant in the spine industry (other than NuVasive) since June 1, 2017.

RESPONSE:

Respectfully submitted,

s/Diana N. Evans
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Attorneys for Plaintiff NuVasive, Inc.
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CERTIFICATE OF SERVICE

[hereby certify that on April 6th, 2018, a copy of the foregoing was served via email and
U.S. Mail, postage pre-paid, on:

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